         Case 1:18-cv-03521-RDB Document 36 Filed 01/11/19 Page 1 of 3



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                              (SOUTHERN DIVISION)

Desmond Ndambi, et al., individually and on        )
behalf of all others similarly situated,           )
                                                   )
                             Plaintiffs,           )    Case No. 1:18-cv-03521-RDB
                                                   )
v.                                                 )
                                                   )
CoreCivic, Inc.,                                   )
                                                   )
                             Defendant.            )


                   DEFENDANT’S MOTION TO DISMISS COMPLAINT

       Defendant CoreCivic, Inc., moves to dismiss the Complaint, pursuant to Civil Rule of

Procedure 12(b), because it fails to state a claim upon which relief can be granted. Plaintiffs—

former immigration detainees in federal custody—base their claims on the incorrect legal

premise that they were entitled to federal and state minimum wages for their voluntary

participation in a work program sponsored by the detention facility. For the reasons set forth in

the Memorandum, the minimum-wage laws do not apply to labor performed by immigration

detainees because of the economic reality of their custodial detention. And because they do not

apply, Plaintiffs have no claim for unjust enrichment either. The Complaint should be dismissed

with prejudice.
        Case 1:18-cv-03521-RDB Document 36 Filed 01/11/19 Page 2 of 3



Dated: January 11, 2019             Respectfully submitted,

                                    /s/ Daniel P. Struck
                                    Daniel P. Struck (pro hac vice)
                                    Rachel Love (pro hac vice)
                                    Jacob B. Lee (pro hac vice)
                                    STRUCK LOVE BOJANOWSKI & ACEDO, PLC
                                    3100 West Ray Road, Suite 300
                                    Chandler, Arizona 85226
                                    Phone: (480) 420-1600
                                    Fax: (480) 420-1695
                                    dstruck@strucklove.com
                                    rlove@strucklove.com
                                    jlee@strucklove.com

                                    Paul J. Maloney, 02026
                                    Matthew D. Berkowitz, 17999
                                    K. Maxwell Bernas, 1048861
                                    CARR MALONEY PC
                                    2020 K Street NW, Suite 850
                                    Washington, DC 20006
                                    Phone: (202) 310-5500
                                    Fax: (202) 310-5555
                                    paul.maloney@carrmaloney.com
                                    matthew.berkowitz@carrmaloney.com
                                    maxwell.bernas@carrmaloney.com

                                    Attorneys for Defendant CoreCivic, Inc.
                                    Attorneys for Defendant CoreCivic, Inc.




                                    -2-
             Case 1:18-cv-03521-RDB Document 36 Filed 01/11/19 Page 3 of 3



                                    CERTIFICATE OF SERVICE

        I hereby certify that on the 11th day of January, 2019, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of such filing to
the following:

            Joseph M. Sellers         jsellers@cohenmilstein.com
            D. Michael Hancock        mhancock@cohenmilstein.com
            Stacy N. Cammarano        scammarano@cohenmilstein.com
            Robert S. Libman          rlibman@lawmbg.com
            Nancy Maldonado           nmaldonado@lawmbg.com
            Deanna Pihos              dpihos@lawmbg.com
            Benjamin Blustein         bblustein@lawmbg.com
            Matthew J. Owens          mowens@lawmbg.com
            R. Andrew Free            andrew@immigrantcivilrights.com
            Matthew D. Berkowitz      matthew.berkowitz@carrmaloney.com
            K. Maxwell Bernas         maxwell.bernas@carrmaloney.com


and I hereby certify that I have mailed by United States Postal Service the document to the
following non-CM/ECF participants:

            N/A

                                              /s/ Daniel P. Struck

3526357.1




                                               -3-
